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9                              UNITED STATES DISTRICT COURT
10                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                      WESTERN DIVISION
12    UNITED STATES OF AMERICA,                      No. 2:20-CV-10712-CBM (MRWx)
13                Plaintiff,
                         v.                         CONSENT JUDGMENT OF
14
                                                    FORFEITURE    [JS-6]
15    $38,905.00 IN U.S. CURRENCY,
16
                  Defendant.
17
18
      JARQUIS TRAONNE MOSS,
19
                   Claimant.
20
21
22
23           Plaintiff United States of America and Claimant Jarquis Traonne Moss have made
24    a stipulated request for the entry of this Consent Judgment, resolving this action in its
25    entirety.
26    ///
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1           The Court, having considered the stipulation of the parties, and good cause
2     appearing therefor, HEREBY ORDERS, ADJUDGES AND DECREES:
3           1.       This Court has jurisdiction over the subject matter of this action and the
4     parties to this Consent Judgment of Forfeiture.
5           2.       The Complaint for Forfeiture states a claim for relief pursuant to 21 U.S.C.
6     § 881(a)(6).
7           3.       Notice of this action has been given as required by law, including
8     Supplemental Rule G for Admiralty or Maritime Claims and Asset Forfeiture Actions,
9     Federal Rules of Civil Procedure, and the Local Rules of this Court. Jarquis Traonne
10    Moss (“Claimant”) filed the only claim and answer, and the time for filing claims and
11    answers has expired. All potential claimants to the defendant $38,905.00 in U.S.
12    Currency (the “defendant funds”) other than Claimant are deemed to have admitted the
13    allegations of the Complaint. The allegations set out in the Complaint are sufficient to
14    establish a basis for forfeiture.
15          4.       $9,726.25 of the defendant funds, without interest, shall be returned to
16    Claimant through his counsel.
17          5.       The United States of America shall have judgment as to the remaining
18    $29,178.75 of the defendant funds, together with all interest earned on the entirety of the
19    defendant $38,905.00 in U.S. Currency since seizure, and no other right, title or interest
20    shall exist therein. The government shall dispose of the forfeited funds according to law
21    pursuant to 21 U.S.C. § 881(e).
22          6.       There was reasonable cause for the seizure of the defendant funds and
23    institution of these proceedings based on the facts alleged in the Complaint. This
24    consent judgment shall be construed as a certificate of reasonable cause pursuant to 28
25    U.S.C. § 2465.
26    //
27    //
28    //
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1           7.     Each of the parties shall bear its own fees and costs in connection with the
2     seizure and retention of the defendant funds and the litigation of this action.
3
4           IT IS SO ORDERED.
5
6     Dated: April 26, 2021
                                       THE HONORABLE CONSUELO B. MARSHALL
7
                                       UNITED STATES DISTRICT JUDGE
8
                                       CC: FISCAL
9
10    Presented by:
11    TRACY L. WILKISON
      Acting United States Attorney
12    BRANDON D. FOX
13    Assistant United States Attorney
      Chief, Criminal Division
14    STEVEN R. WELK
      Assistant United States Attorney
15    Chief, Asset Forfeiture Section
16     /s/Katharine Schonbachler
17    KATHARINE SCHONBACHLER
      Assistant United States Attorney
18
      Attorneys for Plaintiff
19    UNITED STATES OF AMERICA
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